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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

YAISHA HODGES,
Plaintiff :
Vv. : 3:18-CV-1528
: (JUDGE MARIANI)
FREDDIE RUFUS, et al.

Defendants

| ORDER
AND NOW, THIS L [DAY OF SEPTEMBER, 2020, upon review of

Magistrate Judge Arbuckle’s Report and Recommendation (“R&R”) (Doc. 7) for clear error
or manifest injustice, IT IS HEREBY ORDERED THAT:
1. The R&R (Doc. 7) is ADOPTED for the reasons stated therein.
2. Plaintiff's action is DISMISSED WITHOUT PREJUDICE for failure to comply with
the Court’s Orders and for failure to prosecute this action."

3. The Clerk of Court is directed to CLOSE this action.

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Robett D. Mariani 7
United States District Judge

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‘ Plaintiff's failure to file any documents in this action since the time it was transferred from the
Southern District of Ohio in August of 2018, including making any attempt to provide this Court with an
updated address, further supports the conclusion that Plaintiff has failed to prosecute and has abandoned
this action.
